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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION


DONNA CURLING, ET AL.,
Plaintiffs,
                                       Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

JOINT STATEMENT REGARDING GBI INVESTIGATIVE DOCUMENTS
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                                 Plaintiffs’ Position
      Plaintiffs recently learned from press reports that, as part of its investigation

into the January 2021 breach of Georgia’s voting system in Coffee County, the

GBI obtained more than 10,000 emails and 4,500 other documents stored on a

desktop computer—used by Misty Hampton—in the Coffee County Election

Supervisor’s office (which the Coffee County Board of Elections repeatedly

represented, in response to Plaintiffs’ subpoenas, did not exist). Those documents,

along with a GBI report summarizing its investigation, were provided to at least

the Fulton County District Attorney’s Office and defendants in the pending Fulton

County RICO case against former President Trump and others (where four

defendants have pled guilty already, including to felony charges). The GBI report

also was provided to the press. But Plaintiffs have received none of these

documents. They asked State Defendants for them. The parties are at impasse.

      State Defendants do not dispute that these documents are relevant and

responsive but argue they cannot produce the documents because they do not have

them. State Defendants are obligated to produce documents not only within their

possession, but also in their custody or control. Fed. R. Civ. P. 26(a). State

Defendants repeatedly have represented to Plaintiffs and this Court that the GBI

investigation that obtained these documents occurred specifically at State

Defendants’ direction. Yet they somehow have none of these documents—


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including the GBI’s report detailing its investigation and findings—and even

refuse to request these materials from the GBI. Not only is this a stunning neglect

of their duties to secure Georgia’s voting system and to investigate such breaches,

but it also violates their duties under Rules 26(e) and 34. State Defendants

continue to stick their heads in the sand about what happened in Coffee County

and its implications for the security and reliability of Georgia’s voting system.

And their repeated claims that the Coffee County caper did not affect Georgia’s

voting system ring hollow given they now admit they do not know what the GBI

found in its investigation conducted at their direction and will not even ask.

      The Court should order State Defendants to (1) produce immediately the

GBI report including all referenced documents, any documents from the desktop

computer in the Coffee County Election Supervisor’s office, and any other

materials the GBI obtained in its investigation related to the Coffee County caper;

and (2) pay Plaintiffs’ fees and costs regarding this dispute, as State Defendants’

refusal to even request the materials from the GBI is wholly unjustified.

                               Defendants’ Response

      Plaintiffs’ demand—replete with the rhetorical invective this Court and the

State Defendants have come to expect in this case and this case alone—seeks

documents not within the possession, custody, or control of the Secretary of State

and State Election Board, ostensibly owed to Plaintiffs as supplementation of an


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unidentified discovery request.1 State Defendants understand the late discovery

demanded by Plaintiffs was produced by the GBI to the Fulton County District

Attorney in relation to the ongoing criminal prosecution and, in turn, to criminal

defendants in discovery. While criminal defendants may be entitled to the discovery

for their criminal defense, Plaintiffs are not—despite both having made claims that

Georgia’s Dominion voting system is untrustworthy and unconstitutional. As

Plaintiffs acknowledge, State Defendants do not have the GBI report and do not have

the emails from Ms. Hampton’s computer. Plaintiffs apparently continue to believe

that State Defendants somehow have control of the GBI—which is an independent

state agency. O.C.G.A. § 35-3-2. If State Defendants later obtain a copy of the GBI

report and intend to use it at trial, Plaintiffs will get a copy when the parties exchange

exhibits for trial. Nonetheless, if the report they seek is as public as they say it is,

then they can gain access to it and likely before the State Defendants. 2

      Plaintiffs, relying only upon Federal Rules of Civil Procedure, have provided

no authority holding that one state agency may be compelled by a federal court to



1
   Presumably, this request is found within years-old discovery requests, an
independent reason for denial. See Fair Fight Action, Inc. v. Raffensperger, No.
1:18-CV-5391-SCJ, ECF No. 271 (N.D. Ga. Mar. 20, 2020) (finding complaints
generated after discovery request made were not subject to supplementation).
2
  Indeed, Plaintiffs filed copies of some pages from that report in their motion to
compel in the Southern District of Georgia against Coffee County. Coalition for
Good Governance v. Coffee Cnty., 5:23-mc-00001-LGW-BWC, ECF No. 1, ex. 14
(S.D. Ga. Oct. 24, 2023).
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request documents from another state agency to facilitate a plaintiff’s discovery. Just

as state agencies do not automatically have “control” over state employees’ personal

email accounts simply by virtue of their employment with the state, Fair Fight

Action, Inc. v. Raffensperger, No. 1:18-CV-5391-SCJ, ECF No. 286, 2020 U.S. Dist.

LEXIS 266961, at *18-19 (N.D. Ga. Apr. 1, 2020), one state agency does not have

control of another state agency simply by being located in the same government, see

Smith v. Parmley, 558 F. Supp. 161 (E.D. Tenn. 1982) (denying motion to compel

defendants produce documents in possession of non-parties Tennessee Bureau of

Investigation and local police department), nor is an agency required to request every

other agency provide documents in response to discovery. See New York ex rel.

Boardman v. Nat’l R.R. Passenger Corp., 233 F.R.D. 259, 264–268 (N.D.N.Y.

2006) (citing Lyes v. City of Riviera Beach, Fla., 166 F.3d 1332, 1343–44 (11th Cir.

1999)) (deferring to legislative determination that governmental entity was “separate

and distinct” and holding plaintiff state agency did not have control over non-party

agency for purpose of motion to compel).

      Plaintiffs claim that GBI was acting at the direction of State Defendants in its

investigation but fail to understand how the state government functions and fail to

demonstrate that the State Defendants control the investigation or documents

generated during the investigation. The Secretary and SEB requested an

investigation by the GBI, [Doc. 1633-3]; they have no authority to compel the GBI


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to investigate nor to dictate the process of such investigation. See, e.g., O.C.G.A. §§

35-3-2, 35-3-8.1, 35-3-13. That the GBI, in its own determination, acted upon the

request does not convert their investigative files into files under the control of State

Defendants. Nor does the mere fact that Secretary, State Election Board, and GBI

are all part of the overall state government of Georgia mean that documents in the

possession of the GBI are in the custody or control of State Defendants. This Court

should deny Plaintiffs’ request.

                                   Plaintiffs’ Reply

      Defendants do not dispute that (i) the materials are relevant; (ii) they refuse to

request the materials from the GBI; and (iii) the GBI would provide the materials if

requested (just as with the Fulton County DA’s Office and 19 defendants) given the

investigation was conducted at State Defendants’ direction. They are obligated to

make that request and produce any materials received.3 State Defendants do “not

meet [their] discovery obligations simply by stating” that the materials “are not

[their] documents.” Carter v. City of Montgomery, Ala., 2019 WL 2110519, at *1-

2 (M.D. Ala. May 14, 2019) (rejecting City’s “latest tactic [] to attempt to gum up

the process through recalcitrance in discovery” and requiring City to “make a good



3
  The materials sought are responsive. See Ex. 1. The redacted GBI Report is now
public, but the documents obtained in the investigation are not. See
https://www.lawfaremedia.org/article/you-can-now-read-the-gbi-s-coffee-co.-
report-in-full.
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faith effort to obtain” requested documents).        This Court should order State

Defendants to immediately “make a good faith effort to acquire any responsive

documents” from the GBI and “state what efforts were made to acquire them.”

Georgetown Trading Co., LLC v. Venturi Spirits, LLC, 2015 WL 11197794, at *3

(S.D. Fla. Nov. 6, 2015); see also Sciele Pharma, Inc. v. Brookstone Pharms., LLC,

2011 WL 3844891, at *2-4 (N.D. Ga. Aug. 30, 2011) (ordering plaintiff to make

good faith effort to obtain documents from third-party manufacturers). Their refusal

to do so is wholly unjustified and warrants awarding Plaintiffs their fees and costs.

      State Defendants make much of the fact that they do not control the GBI as a

whole. But that’s not the legal standard and it’s entirely beside the point. State

Defendants do not deny that they have a legal right to obtain documents collected

by the GBI as part of an investigation conducted at their direction regarding

extraordinary breaches of the state’s voting system that State Defendants are legally

required to administer, maintain, and secure. See, e.g., O.C.G.A. §§ 21-2-31(1), (2),

(5); 21-2-33.1(a), (c); 21-2-300(a). This disposes of their objection. Carter, 2019

WL 2110519, at *2. Their willful ignorance about what the GBI did and found in

its investigation does not relieve them of their obligation to request the materials at

issue from the GBI for discovery here. It simply confirms that their public claims

about the Coffee County breaches are empty rhetoric and that they still are not taking

election security seriously.


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     Respectfully submitted this 6th day of November, 2023.

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DONNA CURLING, ET AL.,
Plaintiffs,

v.                                       Civil Action No. 1:17-CV-2989-AT

BRAD RAFFENSPERGER, ET AL.,
Defendants.


                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of LR 5.1, using font type of Times New

Roman and a point size of 14.

                                             /s/ David D. Cross
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DONNA CURLING, ET AL.,
Plaintiffs,

v.                                          Civil Action No. 1:17-CV-2989-AT

BRAD RAFFENSPERGER, ET AL.,
Defendants.


                          CERTIFICATE OF SERVICE

      I hereby certify that on November 6, 2023, a copy of the foregoing JOINT

STATEMENT REGARDING GBI INVESTIGATIVE DOCUMENTS was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send notification of such filing to all attorneys of record.

                                                /s/ David D. Cross
                                               David D. Cross




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